 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 1 of 41

PJM¢'CAH USAO#ZO]SRUGGGS _\
i§i? S'EF 28 F¢"-$ 141148

IN THE UNITED STATES I)ISTRICT COURT _r _ __

FOR THE DlSTRICT oF MARYLAND C` ` _.~-

UNITED STATES OF AMERICA

V.

GERALD THOMAS JOHNSON,
afk)'a “Geezy,”
a/k!a “Gzy Tha Prince,”
WESLEY JAMAL BROWN,
` afk)'a “Shike White,”
a/k!a “Wes,”
a/k/a “West Coast,”
a/k!a “Coasta,”
DAVID ALBERT HUNTER,
afk/a “Lil Dave,”
a/k)'a “Dave,”
MONTEL HARVEY,
a/k)'a “Telly,”
a!k/a “Telephone,”
a/kfa “Big Head,”
KENNETH JONES,
a/k/a “K-Slay,”
a/k/a “Slay,”
KENNETH LEE FAISON,
a/k/a/ “Roscoe,”
JOSEPH LAURENCE'BONDS,
a/k/a/ “Joe,”

a/k!a “Yo Gotti,”
NORMAN TYRONE HANDY,
a/kfa “Lil Norm,”

a/k/a “Norm,”
MARQUISE -MCCANTS,
a/k/a “Digga,”

Defendants.

.»..x,..
,,_ .. .,

l\t ms ..... ..
;“;{..`..__..;..-W--v-,_.. ~,\.1...¢ vi 1
Criminal No. JKB-16-363

(Racketeering Conspiracy, 18 U.S.C.
§ 1962(d); Conspiracy to Distribute
Controlled Substances, 21 U.S.C.

§ 846; Conspiracy to Commit Murder
in Aid of Racketeering, 18 U.S.C. §
1959(&)(5); Murder in Aid of
Racketeering, 18 U.S.C. § 1959(a)(1);
Use, Carry, Brandish, and Discharge
of Firearm I}uring and in Relation to
Crime of Violence, 18 U.S.C. § 924(c);
Possession with Intent to Distribute
Cocaine Base, 21 U.S.C. § 841(a)(1);
Possession of Ammunition by a Felon,
18 U.S.C. § 922(g); Possession of a
Firearm by a Felon, 18 U.S.C. §

` 922(g), Aiding and Abetting, 18

U.S.C. § 2 Forfeiture, 18 U.S.C. §§
924, 1963; 21 U.S.C. § 853; 28 U.S.C.
§ 2461)

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 2 of 41

SECOND SUPEI§EDING INDICTMENT

COUNT ONE
(Conspiracy to Participate in Racketeering Enterprise)

Introduction

l. The Blacl< Guerilla Family (“BGF”), also known as Jamaa (the Swahili word for
family), or J for short, is a nationwide gang operating in prisons and on the streets of Baltimore,
Maryland and other maj or cities throughout the United States. Founded in California in the
'19603, BGF appeared in the Maryland correctional system in the l990s. In the mid-2000s, it
became the dominant prison gang at the Baltimore City Detention Center and related prison
facilities. BGF members frequently brought the gang ideology to the streets When released,
thereby fueling the spread of BGF outside the correctional system. Although still a prison gang,
BGF is increasingly involved in criminal activity on the streets of Baltimore, including murder,
robbery, extortion, narcotics trafficking, obstruction of justice, and Witness intimidation

2. Outside the prison system, the membership of BGF is organized into units known
as “regirnes” or “bubbles” that correspond to particular regions or neighborhoods in Baltimore
City. These units are organized hierarchically, With a “Commander” or “C” and various
subordinates, including a “Lieutenant Cornmander” or “LTC”; Ministers of Finance, Defense,
Justicc, and Education; a Sergeant of Arms; and a Field Marshal. Many of these subordinates
have specialized functions, such as collecting dues, planning acts of violence against rival gangs
or drug traffickers, implementing disciplinary measures, educating members about the gang’s
history and rules, or acquiring weapons for the re gime. The remaining members of the unit are

designated as “in the field,” and are responsible for carrying out the directives of the regime.

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 3 of 41

3. A “Bushman,” or “BM” for short, is a high-ranking, senior BGF member. Blvls
oversee the activities of multiple regimes within their respective areas of the city. BGF members
often refer to BMs as being “in the Bush.” Whereas a Commander is responsible for running his
particular regime, a BM might control multiple regime Cornrnanders in the BGF hierarchy

4. At all times relevant to this Superseding lndictment, BGF members were required
to follow a set ofrules, sometimes referred to as the “22s and 33s,” or, collectively, the “555.”
These were the rules by which all BGF members were governed, including, for example, a rule
against cooperating with law enforcement or “snitching”; a rule against revealing the secrets of
the gang; a rule against stealing from the gang; and a rule requiring the payment of dues. BGF
members who violated this code of conduct or who disobeyed an order from a superior were
subject to disciplinary measures called “sanctions,” which included fines, physical beatings, and
death. Snitching was considered one of the most serious violations, and was punishable by death
if there was “paperwork” proving the violation “Paperwor ” normally consisted of court
documents such as a search warrant affidavit or trial transcript

5. At all times relevant to this Superseding Indictment, BGF members joined the
gang by obtaining a “sponsor” from Within the gang who would educate the prospective member
(sornetimes referred to as a “fox”) about the-gang’s history, code of conduct, and oath. In order y
to gain admission to the gang, prospective members were required to learn the 22s and 335 and
recite the BGF oath from memory. The BGF oath, sometimes referred to as the “two S’s and
three l’s,” is as follows: “Should l ever be untrue and forsake the chosen few, this oath shall kill
me', should l ever become lax in discipline in times of strife or neglect my brothers, this oath

shall kill me; if l ever sought to do harm or allow harm to come to my brothers, this oath shall

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 4 of 41

kill me; if at any time l refuse or deny to give assistance to this oath or reject my brother, this
oath shall kill me; if l ever reveal the sworn secrecy of this oath, this oath shall kill me.”

6. The organization known today as the BGF Greenmount Regime is a violent
regime, or “bubble,” of BGF. During the early years in which it operated, the gang consisted of
mostly younger individuals, many of whom lived in the 2200, 2300, and 2400 blocks of Barclay
Street and Guilford Avenue. During this time period, the organization called itself the Young
Guerilla Family, or YGF.

7. Between mid-2005 and approximately mid-2001 YGF members sold various
controlled substances, including cocaine, cocaine base, heroin, oxycodone, ecstasy and
marijuana, throughout the Greenmount Avenue corridor. They also committed murders,
shootings, and armed robberies, both inside and outside their neighborhood

8. By mid-2001 senior BGF leaders, including Bushmen, became concerned that
YGF members were recklessly engaging in violence, thereby subjecting their BGF counterparts
to unwanted scrutiny from law enforcement To address this concern, BGF’s leadership issued
an ultimatum: YGF and its members could either “shut down,” or, alternatively, they could
embrace BGF’s rules and structure by becoming full-fledged members of the gang.

9. Following this ultimatum, nearly all YGF members took the BGF oath, resulting
in a merger between the affiliated gangs. The merger had little effect, however, on the structure
and leadership of YGF, and it did nothing to stern the violence committed by members of the
gang Following the merger, members of the BGF Greenmount Regime continued distributing
narcotics and committing robberies, both armed and unarmed, to raise internal funds. They also

committed murders, shootings, and assaults to protect their territory from rival gangs and drug

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 5 of 41

dealers; to intimidate, and in some cases eliminate, witnesses to their criminal activity; and to
maintain discipline and order within the gang

10. Over time, the BGF Greenmount Regime gradually assumed control over several
dozen city blocks in the area of Greenmount Cemetery. By mid-2013, the gang controlled the
roughly rectangular area bordered by Greenmount Avenue to the east; Guilford Avenue to the
west; 25th Street to the north; and Federal Street to the south, as Well as certain offshoots east of
Greenmount Avenue, including Mund Park and Cokesbury Avenue.

ll. At all times relevant to this Superseding lndictment, the following defendants,
among others, were members and associates of the organization known today as the BGF

Greenmount regime:

GERALD THOMAS JOHNSON,
a/k/a “Geezy,” a/k/a “Gzy Tha Prince,”
WESLEY JAMAL BROWN,
a/k/a “Shike White,” a/k/a “Wes,”
a/k/a, “West Coast,” a/k/a “Coasta,”
DAVID ALBERT HUNTER,
a/k/a “Lil Dave,” a/k/a “Dave,”
MONTEL HARVEY,

a/k/a “Telly,” a/k/a “Telephone,” a/k/a “Big Head,”
KENNETH JONES,

a/k/a “K-Slay,” a/kfa “Slay,”
KENNETH LEE FAISON,
aflda “Roscoe,”

JOSEPH LAURENCE BONDS,
a/k!a “Joe,” a/k/a “Yo Gotti,”
NORMAN TYRONE HANDY,
a/k/a “Lil Norm,” a/k/a “Norm,” and
MARQUISE MCCANTS,
a/kla “])igga,”

The Racketeering Entergrise
12. At all times relevant to this Superseding lndictment, the organization known

today as the BGF Greenmount Regime, including its leadership, members, and associates,

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 6 of-'41

constituted an “enterprise” as defined in Section 1961(4) of Title 18, United States Code, that is,
a group of individuals associated in fact that engaged in, and the activities of which affected,
interstate and foreign commerce The enterprise constitutes an ongoing organization whose
members function as a continuing unit for a common purpose of achieving the objectives of the
enterprise
_P_urposes of the Enterprise
13. Arnong the purposes of the enterprise were the following:

a, Enriching the leaders, members, and associates of the enterprise through
the distribution of controlled substances, robbery, and the use of threats, intimidation, and
violence, including but not limited to acts of murder and retaliation against witnesses;

b. Promoting and enhancing the enterprise and its members’ and associates’
activities;

-c. Preserving and protecting the power, territory, operations, and proceeds of
the enterprise through the distribution of controlled substances, robbery, and the use of threats,
intimidation, and violence, including acts of murder, witness retaliation, and assaults;

d. Preserving and protecting the enterprise and its leaders by keeping its
members and associates from cooperating with law enforcement through intimidation, violence,

and threats of violence;

e. Providing financial support and information to members, including those
who were incarcerated for committing acts of violence or other offenses ;

f. Providing assistance to other gang members who committed crimes for
and on behalf of the gang in order to hinder, obstruct, and prevent law enforcement officers from

identifying, apprehending, and punishing the offender; and

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 7 of 41

g. Keeping victims and witnesses in fear of the enterprise and in fear of its

leaders, members, and associates through acts of violence and threats of violence.

The Racketeering Conspiracy

l4. Beginning in or about 2005 and continuing until on or about the date of this
Second Superseding lndictment, in the District of l\/laryland, and elsewhere, the defendants,

GERALD THOMAS JOHNSON,
a/k/a “Geezy,” a/k!a “Gzy Tha Prince,”
WESLEY JAMAL BROWN,
a/kja “Shike White,” a/kfa “Wes,”
a/k/a “West Coast,” a/k/a “Coasta,”
DAVID ALBERT HUNTER,
a/k)'a “Lil Dave,” afk/a “Dave,”
MONTEL HARVEY,

a/k/a “Telly,” a/k/a “Telephone,” aflda “Big Head,”
KENNETH JONES,
a/kr'a “K-Slay,” a/k/a “Slay,”
KENNETH LEE FAISON,

a/k!a “Roscoe,”

JOSEPH LAURENCE BONBS,
a/k!a “Joe,” a/k)'a “Yo Gotti,”
NORMAN TYRONE HANDY,
a/k/a “Lil Norm,” a/k/a “Norm,” and
MARQUISE MCCANTS,

` a/k/a “Digga,”

each being a person employed by and associated with the organization known today as the BGF
Greenmount Regime, an enterprise, which engaged in, and the activities of which affected,
interstate and foreign commerce, together with each other and with other persons known and
unknown to the Grand Jury, did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree to violate Section l962(c) of Title 18, United States Code, that is, to
conduct and participate, directly and indirectly, in the conduct of the enterprise’s affairs through
a pattern of racketeering activity, as defined in Sections l96l(l) and (5) of Title l8, United

States Code, which pattern of racketeering activity consisted of multiple'.

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 8 of 41

a. Acts involving murder, chargeable under Md. Code Ann., Crim. Law
§§ 2-201, 2-204, 2»205, and 2-206, and the Common Law of Maryland punishable pursuant to
Md. Code Ann., Crim. Law §§ l-201, 1»202, 2-201, 2-204, 2-205, and 2-206 (Maryland
Murder);

b. Acts involving robbery, chargeable under Md. Code Ann., Crim. Law
§§ 3-402 (Maryland Robbery), 3-403 (Maryland Robbery with a Deadly Weapon), and the
Cornmon Law of Marylanc_l; `

c. Offenses involving trafficking in controlled substances, in violation of 21
U.S.C. §§ 841 (distribution of controlled substances) and 846 (conspiracy to distribute controlled
substances);

d. Acts indictable under 18 U.S.C. § 1512 (relating to tampering with a
witness, victim, or informant); and

e. Acts indictable under 18 U.S.C. § 1513 l(relating to retaliating against a
witness, victim, or inforrnant).

Manner agd Means of the Racketeering Conspiracy
15. Among the manner and means by which the defendants and their associates
achieved the object of the conspiracy were the following:

a. Members of the BGF Greenmount Regime and their associates employed
and used gang-related terminology, symbols, and tattoos. They frequently identified, for
example, with the numbers 2»7-6, the alphanumeric characters for BGF; as well as with the name
and likeness of George Lester Jackson, a co-founder of BGF.

b.l Members of the BGF Greenmount Regime and their associates attended

meetings with other BGF gang members to discuss, among other things, the structure and -

 

 

Case 1:16-cr-00363'-.]KB Document 260 Filed 09/20/17 Page 9 of 41

organization of the gang; past criminal acts ; rival gangs and drug traffickers; the arrest or
incarceration of BGF members; the enforcement of gang rules and sanctioning of BGF members;
the collection of dues; the identities of individuals suspected of cooperating with law
enforcement and the proposed actions to be taken against them; plans and agreements regarding
the commission of future crimes, including murder, robbery, the distribution of controlled
substances, illegal possession of firearrns, witness tampering and assault, as well as ways to
conceal these crimes from law enforcement

c. Incarcerated members of the BGF Greenmount Regime and their
associates used jail telephones to disseminate information about arrests and releases of members
and associates, to publicize the identities of persons believed to be cooperating with law
enforcement, and to request money from BGF members and associates who were not
incarcerated Because they knew that jail telephone calls Were recorded, members of the BGF
Greenmount Regime and their associates oHen made calls using other inmates’ account numbers
in an attempt to conceal their identities

d. Members of the BGF Greenmount Regime and their associates agreed to
purchase, maintain, and circulate Weapons and firearms for use in criminal activity by BGF
_ members.

e. Members of the BGF Greenmount Regime and their associates used,
carried, possessed, brandished, and discharged firearms in connection with the enterprise’s
illegal activities, including but not limited to murder, attempted murder, and robbery,

f. Members of the BGF Greenmount Regime and their associates used
violence, threats of violence, and intimidation to prevent victims and witnesses from cooperating

With law enforcement against BGF regarding criminal acts committed in furtherance of the gang.

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 10 of 41

g. Members of the BGF Greenmount Regime and their associates obstructed
justice and harmed, threatened, intimidated, and in some cases murdered witnesses and victims
who cooperated with law enforcement against BGF.

h. Members of the BGF Greenmount Regime and their associates distributed
and conspired to distribute controlled substances, including but not limited to heroin, cocaine,
cocaine base, oxycodone, and marijuana, in the Greenmount Avenue corridor of Baltimore City.

i. Members of the BGF Greenmount Regime and their associates controlled
drug territories and generally permitted only BGF members to sell drugs in those territories
Non-BGF members who wished to distribute drugs in those territories Were forced to pay a tax of
were targeted for violence by BGF members

j. Members of the BGF Greenmount Regime and their associates paid dues
to BGF leaders on a regular basis and were subject to reprisal for failure to do so.

k. Members of the BGF Greenmount Regime and their associates earned
money for their enterprise and financed their activities, including the payment of dues, through
the distribution of controlled substances and the commission of armed and unarmed robberies

l. l\/lembers of the BGF Greenmount Regime and their associates used
cellular telephones to communicate with one another concerning and during the commission of
the enterprise’s illegal activities

m. Members of the BGF Greenmount Regime and their associates attempted
to conceal the purposes of the acts done in furtherance of the enterprise, and used coded
language and other means to avoid detection and apprehension by law enforcement and

otherwise to provide security to members and associates of the enterprise

10

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 11 of 41

n. l\/Iembers of the BGF Greenmount Regime and their associates agreed that
acts of violence, including murder, would be committed in order to protect and further the
interests of BGF and to impose discipline Within the gang.

Overt Acts

16. In furtherance of the conspiracy and to achieve the objective thereof, the
defendants and others performed and caused to be performed the following acts, among others,
in the District of Maryland and elsewhere:

17. Beginning in approximately 2005 and continuing until early 2007, JOHNSON
supplied distribution quantities of cocaine, cocaine base, heroin, and methylenedioxy-
methamphetamine (ecstasy) to other YGF members, including FAISON, BONDS, JONES, and
HUNTER, who in turn assisted JOHNSON in distributing drugs on the street.

18. Beginning in approximately 2005 and continuing until early 2007, JOHNSON
used a residence located at 221 E. 25th Street as a “stash house,” where other YGF members,
including FAISON, BONDS, and JONES, would store narcotics and package them for
distribution -

19. Beginning in approximately 2005 and continuing until early 2007, JOI-INSON
and other members of YGF, including FAISON, JONES, BONDS, and HUNTER, held gang
meetings in the residence located at 221 E. 25th Street.

20. On luly 20, 2005, in the 200 block of E. 22“d Street, HUNTER shot and killed
' Victim D.J. using a .32 caliber revolver belonging to BONDS. After the shooting, HUNTER
attempted to return the revolver to BONDS. BONDS initially refused, but later agreed to take

the revolver back from HUNTER.

ll

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 12 of 41

21. On August 19, 2006, in the 300 block of E. 20th Street, HUNTER, a felon,
unlawfully possessed a loaded Davis Industries .380 caliber handgun (serial number AP428040).
22. On December 27, 2006, outside the residence located at 221 E. 25th Street,
JOHNSON attempted to shoot Victims M.L. and S.C. because he suspected that they had stolen

drugs from him.

23. On January 9, 2007, inside the residence located at 221 E. 25th Street, JONES and
another YGF member shot and killed Victim G.R. using the same 9mm handgun that was used to
shoot a rival drugdealer five days earlier. JOHNSON authorized the killing of Victim G.R. in
his capacity as a leader of YGF, both because Victim G.R. was rumorcd to be cooperating With
law enforcement and because JOHNSON believed that Victim G.R. had stolen drugs from him.

24. ln the days following Victim G.R.’s murder, JOHNSON told at least one other
YGF member that the blood from Victim G.R.’s gunshot wounds looked like “spaghetti sauce.”

25. In or about the spring of 2007, FAISON and another YGF member robbed an
unidentified male of a Standard Sentinel .22 caliber revolver. On June 8, 2007, FAISON’s
accomplice unlawfully possessed the revolver (serial number 14197?0) in the 300 block of E. 22

1/2 Street.

26. ]n or about mid-2007j JOHNSON and HUNTER participated in meetings with
senior BGF members regarding the merger between BGF and YGF.

27. On September 28, 2007, in the 2400 block of Brentwood Averiue, JOHNSON
distributed cocaine base to an undercover Baltimore Police Officer.

28. On October 2, 2007, in the 2200 block of Barclay Street, HUNTER, FAISON,

and a third individual possessed with intent to distribute cocaine.

12

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 13 of 41

29. On October 31, 2007, in the 2400 block of Brentwood Avenue, Victirn N.K., a
senior BGF member who had helped to facilitate the transition of YGF into BGF, was murdered
Following the murder, BGF members held a candlelight vigil in Victim N.K.’s honor in the area
of 25th Street and Brentwood Avenue. During the vigil, a senior BGF member ordered a BGF
enforcer to assemble a team to kill H.M. because H.M. Was believed to have killed Victim N.K.
following a dispute over drug territory near Greenmount Avenue and 25th Street. The BGF
enforcer enlisted the assistance of HUNTER, Who was carrying a firearrn, and two other
individuals As the BGF enforcer, HUNTER, and their accomplices were driving toward H.M.’s
reported location with the intent of killing H.M., the order to kill H.M. was rescinded In the
presence of at least one other person, HUNTER expressed disappointment about the order to
stand down.

30. On May 9, 2008, in the 2400 block of Greenmount Avenue, MCCANTS and two
other individuals assaulted and stabbed Victim l.B.

31. On May 17, 2008, in the 2900 block of l-Iargrove Alley, MCCANTS and two
other individuals assaulted and robbed Victim M.P. at gunpoint.

32. On June 6, 2008, in the 2200 block of Guilford Avenue, BONDS and another
BGF member possessed with intent to distribute cocaine and possessed $390 in U.S. currency

33. On January 7, 2010, in the 2100 block of Barclay Street, FAISON robbed Victim
J.P. at gunpoint. While committing the robbery, FAISON stated, “you know what this is~l’m

robbing everybody in this neighborhood.”

34. On January 'f‘, 2010, in the 2100 block of Barclay Street, FAISON robbed Victim

D.S. at gunpoint.

13

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 14 of 41

35. On January 7, 2010, in the 2100 block of Barclay Street, FAISON and HANDY
robbed Victim E.J . During the robbery, FAISON brandished a firearm and threatened to kill
Victim E.J.

36. On August 26, 2010, in the 100 block of Pheasant Drive (located in Elkton, MD)
MCCANTS and an accomplice committed an armed home invasion robbery.

37. On April ll, 2011, in the 900 block of E. North Avenue, JONES unlawfully
possessed a Taurus .357 Magnum revolger, bearing serial number YB61906.

38. On June 14, 2011, in the 2400 block of Greenmount Avenue, HUNTER shot and
killed Victim H.M. HUNTER killed Victim H.M. as retaliation for Victim H.l\/l.’s murder of
Victirn N.K. in October 2007, and also because Victim H.M. (who was not a member of BGF)
was selling drugs in the area of Greenmount Avenue and 25th Street without paying the requisite
“tax” to BGF.

39. Later on June 14, 2011, following HUNTER’§ murder of Victirn H.M.,
JOHNSON presided over a BGF gang meeting at Mund Park in the 2300 block of Greenmount
Avenue. 1

40. On June 22, 2011, during a voluntary interview with police detectives, HANDY
admitted selling drugs to support himself.

41. On October 7, 2011, an unknown individual posted a YouTube video in which
JOHNSON sought to enhance his status within BGF, and to intimidate potential rivals, by
rapping about BGF, drug dealing and gun violence. JOHNSON rapped as follows: “Consistent
pulling these triggers, so don’t try me convicted felon, two warrants, l skip dates a killer

with latitude, shooter with no remorse sell 50s of cocaine holler at them BGF niggas that

14

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 15 of 41

run things.” When referencing BGF, JOHNSON put his index finger to his lips, so as to suggest
a level of secrecy regarding BGF and its membership

42. On January 6, 2012, near the intersection of Eutaw and Lombard Streets,
JOHNSON assaulted and robbed Victim M.V. outside The Goddess nightclub.

43. On June 29, 2012, in the 300 block of E. Lanvale Street, HARVEY possessed
with intent to distribute cocaine.

44. On or about August 28, 2012, an unknown individual posted a YouTube video in
which JOHNSON sought to enchance his status within BGF, and to intimidate potential
witnesses, by rapping about retaliation agaist “snitches.”` The tagline for the video stated:

“Catch this new song on Gzy Tha Pnnce¥lamaaVille (reloaded).” The video featured a photo
collage that included a picture of JOHNSON with an image of a black gorilla in the bottom left-
hand comer. During the video, JOHNSON rapped as follows: “Fuckin dropping dimes that’s
that snitch shit; type of thing that get your whole team hit. Fu`ck that, l’m off that, catch me in all
black.”

45. In or about September 2012, FAISON and another individual directed a BGF
member to conduct an armed robbery of a neighborhood drug dealer.

46. On October 31, 2012, in the 300 block of E. Lanvale Street, FAISON and another
BGF member distributed cocaine and possessed $323 in U.S. currency.

47. On November 2, 2012, near the intersection of N. Milton and E. Biddle Streets,
HARVEY distributed cocaine and possessed 3169 in U.S. currency. After arresting HARVEY
and advising him of his Miranda rights, police officers informed him that they had seen him
selling drugs on a CCTV camera HARVEY responded, “Shit, l didn’t think those worked. You

should put me on America’s Dumbest Drug Dealers.”

15

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 16 of 41

48. On November 29, 2012, BROWN exchanged a series of text messages with a
BGF associate, in which he stated that he had just obtained “drugs” and agreed to serve as an
intermediary for a drug transaction involving marijuana

49. On December 6, 2012, BROWN sent a text message to a BGF associate, in which
he stated, “the money is in the coke l’m tryin tell u.”

50. On December 19, 2012, in the 4800 block of Bowland Avenue, FAISON and
another BGF member possessed with intent to distribute marijuana and possessed a loaded Smith
& Wesson .45 caliber firearm (serial number TCC1459).

51. Between February and November 2013, JOHNSON regularly paid gang dues and
distributed cocaine base to a high-ranking member of BGF.

52. On March 3, 2013, BROWN posted a photograph on his Facebook account for
the purpose of enhancing his status within BGF and intimidating potential witnesses ln the
photograph, BROWN was depicted wearing a sweatshirt with the words “Fcuka Rat” printed
above a picture of a mouse caught inside atrap.

53. On l\/Iarch 23, 2013, in the 2400 block of Greenmount Avenue, HANDY and
another individual robbed Victim M.M. During the robbery, HANDY used a .38 caliber
handgun to shoot Victim M.M. in the foot. In or about April 2013, after learning that Victim
M.M. had provided information to police officers that led to HANDY’s arrest, JOHNSON
authorized Victim M.M.’s murder in his capacity as a leader of BGF.

54. On March 31, 2_013, BROWN exchanged a series of text messages with another
individual, in which BROWN discussed purchasing a firearm for 3550»from a third party.

55. On April 3, 2013, JONES exchanged a series of text messages with another

individual, in which he agreed to provide that individual With a .380 caliber handgun

16

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 17 of 41

56. On April 6, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of powder cocaine.

57. On April 6, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to pick up a quantity of marijuana that JOHNSON had instructed
the individual to give to BROWN.

58. On April 7, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin and powder
cocaine.

59. On April 8, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin

60. On April 10, 2013, BROWN exchanged a series of text messages with another
individual, in which he told the other individual that he owed BROWN money for a quantity of
cocaine that BROWN had provided to him on consignment

61. ` On April 16, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with .380 caliber ammunition

62. On April 17, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin

63. On April 21, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of powder cocaine.

6_4. On April 22, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin BROWN
further agreed to provide the individual with a quantity of cocaine, with the understanding that

the individual would deliver the cocaine to a third party.

17

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 18 of 41

65. On April 26, 2013, in a residence located at 1716 Latrobe Street, BROWN and
another BGF member possessed with intent to distribute cocaine and heroin ' BROWN also
possessed paperwork setting forth the rules and constitutions of BGF, as well as a letter from
FAISON to MCCANTS that began with the salutation “Eusi Gyeedi Jamaa”_Swahili for
Black Guerilla Family. BROWN also possessed a letter from HARVEY, in which HARVEY
apologized for breaking the rules of BGF and stated as follows: “l should not have broken these
laws because l am not bigger than J[.] l should always live by my 555 and my oath and I know
consequences could have been worst [sic] for me as a solider of Jamaa won’t brake [sic] them
again[.]” HARVEY concluded the letter by stating, “Long Live the Guerillas.”

66. (in April 30, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin

67. On May l, 2013, BROWN exchanged a series of text messages with another
individual, in which he agreed to provide that individual with a quantity of heroin

'68. On May l, 2013, a BGF member stored three handguns_two .357 caliber
handguns and one .22 caliber handgun-inside a residence located at 2466 Greenmount Avenue.
At the time, the residence was occupied by at least one other BGF member and a BGF associate
Later on May 1, BROWN, took possession of the .22 caliber handgun that his fellow BGF
member had left inside the residence

69.- During the early morning hours of May 2, 2013, inside the residence located at
2466 Greenmount Avenue, a BGF member used a cellular telephone belonging to a BGF
associate to place an outgoing ca11 to BROWN, in which he informed BROWN that Victim

M.l\/l, the individual who had provided information to law enforcement regarding the robbery

18

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 19 of 41

and shooting committed by BROWN’s half-brother HANDY, was in the area of Cokesbury
Avenue.

70. On May 2, 2013, in the 600 block of Cokesbury Avenue, BROWN shot and
killed Victim M.M. using a .22 caliber handgun

71. In the days following Victim M.M.’s murder, BROWN requested assistance from
another BGF member in disposing of the .22 caliber handgun that he had used to kill Victim
M.M.' BROWN told the other BGF member that the handgun was “dirty” because he had used it
to shoot a witness who had provided information to law enforcement regarding his halfpbrother,
HANDY.

72. On May 7, 2013, in the 200 block of E. 22rlcl Street, JONES shot and killed
Victim Tr.W., a BGF member, as a result of an internal gang dispute. JONES killed Victim Tr.
W. using the same 9 mm handgun that had been used- in the fatal shooting of Victim Th.W. in the
300 block OfE. 22nd st. on March 2, 2013.

73. ln the days following Victim Tr.W.’s murder, JONES confronted another
individual in the presence of JOHNSON and accused that individual of “snitching.” JONES
told the individual, in substance, that s/he was lucky that there was no “paperwork” proving that
s/he was a “snitch,” because otherwise s/he would be in trouble.

74. On May 12, 2013, BROWN exchanged text messages with a BGF associate, in
which he agreed to sell the .22 caliber handgun that he had used to shoot Victim M.l\/l. in the
head for $250. ‘

75, On May 14, 2013, 12 days after BROWN killed Victim M.M., HANDY
participated in a recorded jail call, in which he discussed the charges against him arising from his

March 23, 2013 robbery and shooting of Victim M.M. During the jail call, I-IANDY was

19

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 20 of 41

informed by the other individual, “ain’t no case anyways yo is gone anyways who are you
going against anyways.”

76. On May 29, 2013, in the 2100 block of Greenmount Avenue, HARVEY
possessed with intent to distribute cocaine.

77. On June 3, 2013, near the intersection of Charles and 20th Streets, a BGF member
shot and killed Victim W.M. with a Ruger.357 Magnum handgun (serial number153-24886).
Following the murder, the BGF member told BROWN, in the presenee of at least one other BGF
member, that he had killed Victim W.M. because of Victim W.M. ’s involvement in the death of
Victim Tr.W, on May 7, 2013.

’/`8. On June 4, 2013, HANDY participated in a recorded jail call with I-IARVEY,
during which HARVEY informed HANDY that Victim W.M. had gotten “his motherfuckin’
issue last night.” Shortly thereafter, HANDY participated in another recorded jail call with
HARVEY, during which HARVEY confirmed that Victim W.M. had been executed because of
his involvement in Victim Tr.W.’s death. “Man he had to go,” HARVEY said. “He had
something to do with that.”

79. ln the early morning hours of June 8, 2013, in the 300 block of W. Fayette Street,
HARVEY shot Victim L.T. using a 9mm handgun At the time of the shooting, Victim L.T. was
engaged in a physical confrontation with BROWN and others outside the Mirage nightclub,
where BGF members had gathered to celebrate BROWN’s birthday.

80. On June 8, 2013, in the area of Brentwood Avenue, HARVEY gave the 9mm
handgun that he had used to shoot Victim L.T. to another BGF member.

81. Later on June 8, 2013, in the area of 23rcl Street, HARVEY re-enacted his

shooting of Victim L.T. in the presence of BROWN and at least one other individual

20

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 21 of 41 1

82. On June 13, 2013, HANDY participated in a recorded jail call with BROWN,
during which he asked BROWN to provide him with buprenorphine strips for redistribution
inside the jail.

83. On June 20, 2013, in a residence located at 319 E. 21St 1/2 Street, BROWN
possessed with intent to distribute 51 grams of heroin and a quantity of cocaine

84. On June 29, 2013, HANDY participated in a recorded jail call with HARVEY,
during which HARVEY explained that he had confronted JONES and other BGF members over

an internal gang dispute HARVEY told HANDY that he had “gripped up” and was

 

“strapped” that is, he was armed-at the time he confronted JONES and others Later during
the call, HARVEY and HANDY speculated as to who had provided information to law
enforcement prior to BROWN’s arrest for drug offenses on June 20, 2013. “Whoever it is,”
HARVEY said, “they better pray to God that shit don’t get revealedi”

85. OnJuly 2, 2013, FAISON called a known individual from a recorded jail
telephone The known individual told FAISON that a third individual had been arrested after
Baltimore Police officers discovered a handgun in her house, and that the handgun belonged to
another BGF member who was refusing to take the charge FAISON stated that the handgun
had previously been his. Later during the call, FAISON and the other individual speculated as to
who had provided information to law enforcement prior to BROWN’s arrest for drug offenses
on June 20, 2013.

86. On July 3, 2013, BROWN participated in a recorded jail call with HARVEY,
during which HARVEY recounted his effort to confront JONES and other BGF members over
an internal gang dispute HARVEY explained, just as he had to HANDY five days earlier, that

he had “gripped up”»that is, that he was armed_at the time he confronted JONES and others

21

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 22 of 41

87. On luly 5, 2013, BROWN participated in recorded jail calls with multiple
individuals, during which he expressed his displeasure with HARVEY for selling a handgun to
one of BROWN’s family members The handgun was recovered by law enforcement during the
search of a college dorm room on July 3, 2013.

88. On July 6, 2013, in the 1800 block of Barclay Street, HARVEY possessed with
intent to distribute (and in fact distributed) cocaine

89. ln or about the summer of 2013, near the intersection of 22rld Street and Guilford
Avenue, HARVEY and two other BGF members attempted to shoot JONES in retaliation for
JONES’ murder of Victim Tr.W. on May 7, 2013.

90. On August 5, 2013, BROWN participated in a recorded jail call with
JOHNSON, during which JOHNSON agreed to provide BROWN with buprenorphine for
redistribution inside the jail. During the call, JOHNSON asked BROWN whether he was “on
the regular phone.” When BROWN said yes, JOHNSON responded, “Oh»shitl”

91. On October 5, 2013, in the 300 block of 24th Street, JONES shot Victim L.S.
using a Ruger P345 .45 caliber handgun with an obliterated serial number. JONES shot Victim
L.S. because he believed, incorrectly, that Victim L.S. had been involved in the attempt on his
life near the intersection of Guilford Avenue and 22nd Street during the summer of 2013.
Following the shooting, JONES arranged for another individual to take custody of the firearm
that was used to shoot Victim L.S. In November 2013, JONES participated in multiple recorded
jail calls in which he instructed the individual to dispose of the firearm. On December 12, 2013,
Baltimore Police officers recovered the firearm from a residence located at 4447 Pall Mall

Avenue.

22

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 23 of 41

92. On October 23, 2013, in the 3300 block of Cherryland Road, BONDS, a felon,
possessed a loaded .357 Magnum Silver Ruger revolver.

93. On October 31, 2013, in the 300 block of E. Lafayette Avenue, HANDY and
another BGF member assaulted and robbed Victims R.J. and T.C.

94. On November 6, 2013, HARVEY possessed a “prison shank,” i.e., a homemade
knife, inside the Baltimore City Detention Center.

95. On July 4, 2014, MCCANTS and another individual possessed 120 grams of
marijuana inside the Westem Correctional Institution in Cumberland, Maryland.

96. ln or about October 2015, after being acquitted of participating in a criminal gang
and other offenses in the Circuit Court for Baltimore City, JOHNSON participated in the
frlming of a rap video designed to intimidate the witnesses in the state trial and discourage those -
who would cooperate with law enforcement against him. During the video, JOHNSON rapped
about two BGF members who had testified as prosecution witnesses in the state case While
making hand gestures mimicking the firing of a gunJ JOHNSON stated as follows: “Nigga Nod,
you know what you did. Weirdo. Nigga Chris, you know what you did. Weirdo. Niggas on the
stand. Niggas on the stand, like this Niggas crazy.”

97. On or about October 16, 2015, JOHNSON posted a photograph on his Instagram
account depicting BROWN holding a cell phone with the words “Not Guilty” stamped across
the front. Shortly before the photograph was posted, BROWN had been acquitted of murder, but
convicted of other offenses, following a jury trial in the Circuit Court for Baltimore City. ln a
comment accompanying the photograph, JOHNSON referenced one of the witnesses who had
testified against BROWN, and also against JOHNSON in a separate case Adjacent to the name

of the witness, JOHNSON posted three “emojis,” each of which depicted a cartoon rat.

23

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 24 of 41

98. On November 5, 2015, JOHNSON posted a comment on his Instagram
account_later deleted-in which he wrote, “J ama [sic].”

99. ln or about the fall of 2015, in the 2400 block of Greenmount Avenue,
JOHNSON offered to sell an AR-15 assault rifle to another individual for $l,200 or $1,300.

100. On or about November 19, 2015, in the 2400 block of Greenmount Avenue,
JOHNSON and another BGF member distributed cocaine to a street-level drug dealer in the
neighborhood

101. On November 23, 2015, JOHNSON posted a photograph on his Instagram
account, in which he is depicted crossing his arms, revealing a tattoo of the word “Jamaa” on the
outside of his left forearrn.

102. On November 26, 2015, JOHNSON posted a photograph on his Instagram
account in which he is depicted gesturing towards the camera as if he were aiming a gun ln
comment accompanying the photograph, JOHNSON Wrote: “We leamed 25hoot 1St ask
questions last thts how most how [sic] of ths so called gangstas last! ! !”

103. On December 3, 2015, an unidentified individual posted a YouTube video in
which JOHNSON sought to enhance his status within BGF, and to intimidate potential rivals, by
rapping about gun violence JOHNSON rapped as follows: “You know we riding with them
birdies, nigga. You fuckin’ dead man if you in front the trigger. 30 shots; l ain’t trippin’ off a
fuck nigga ‘cause l don’t really trust niggas `. .. and I won’t hesitate to rush niggas face up
on the news, bitch, l ain’t gotta tell you what l dos, bitch. lf there’s two guns, then there’s four
clips. And if there’s four niggas, there’s eight guns when it’s crunch time, the machine guns

l’m a squeeze these bitches ‘til the F-E-Ds come,”

24

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 25 of 41

104. On March 2, 2016, JOHNSON exchanged a series of text messages with another
individual, in which he agreed to provide that individual with 3.5 grams of cocaine for 3225.

105. On March 3, 2016, JOHNSON exchanged a series of text messages with another
individual, in which he agreed to sell that individual a quantity of 30 mg oxycodone pills

106. On March 3, 2016, JOHNSON sent a text message to multiple individuals, in
which he told those individuals that he had a quantity of 30 mg oxycodone pills for sale

107'. On March 7', 2016, JOHNSON sent text messages to multiple individuals in
which he informed those individuals that he had 15 and 30 mg oxycodone pills for sale.

108. On March 23, 2016, JOHNSON exchanged a series of text messages with
another individual, in which he agreed to purchase a quantity of 15 mg oxycodone pills

109. , On March 24, 2016, JOHNSON sent text messages to multiple individuals in
which he informed those individuals that he had 10 mg oxycodone pills for sale

110. On March 25, 2016, JOHNSON sent text messages to multiple individuals, in
which he informed those individuals that he had 15 mg oxycodone pills for sale

111. On March 25, 2016, JOHNSON exchanged a series of text messages with
another individual, in which he agreed to sell that individual a quantity of 15 mg oxycodone
pills

112. On March 27, 2016, JOHNSON exchanged a series of text messages with
another individual, in which he informed that individual that he had a quantity of 30 mg
oxycodone pills for sale.

113. On March 28, 2016, JOHNSON posted a comment on his Instagram account, in
which he bragged of his ability to order the commission of violence and to offer compensation

for the killing of witnesses JOHNSON wrote as follows: “Got them shooter’$ on ur azz caus u

25

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 26 of 41

failed da mission? Ask me how im still here? Caus i paid attention! l !prayn 4my dwn fall gott
these haters snitchn,boy its money on ur head, agetta hater missin! !! ... we bn gettn money on u
wierdosl !”

114. On April 3, 2016, JOHNSON, a felon, exchanged a series of text messages with
another individual, in which he agreed to purchase a 9mm handgun in exchange for $3 00 and a
quantity of marijuana During this exchange, the other individual informed JOHNSON that he
expected to have some “stendos,” i.e., extended clips, for 9 mm and .40 caliber handguns
available for purchase the following week.

115. On April 6, 2016, JOHNSON posted a video on his Instagram account, in which
he memorialized arecently-murdered BGF member. Towards the end of the videoJ JOHNSON
stated, with respect to FAISON and HUNTER: “Free Roscoe Free Dave_nigga my shooter

116. On April 7, 2016, JOHNSON exchanged a series of text messages with another
individual, in which he agreed to sell that individual a quantity of 15 mg oxycodone pills

117. On April 29, 2016, a BGF member posted a video on YouTube in which
.IOHNSON sought to enhance his status within BGF, and to intimidate rivals and potential
witnesses, by rapping about killing people while making gestures as though firing a gun
JOHNSON rapped as follows: “l don’t give a fuck what niggas they be talkin about. I get
niggas shot just for running mouth surround the comers, this nigga a goner, post him in front
of the shop, smoke him like marijuana, kill him in front of the shop, frankly he a goner 1 will
run up on him and Glock him you niggas can’t flag ‘round my block.” 7

1 18. On May 11, 2016, MCCANTS exchanged a series of text messages with another

BGF member, in which he agreed to provide the BGF member with $300 worth of marijuana on

26

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 27 of 41

consignment The BGF member, in turn, agreed to repay MCCANTS after he sold the
marijuana to customers At the end of the exchange, MCCANTS warned the BGF member,
“don’t fuck up ya money.”

' 119. On June 21, 2016, JOHNSON posted a photo on his Instagram account depicting
BROWN wearing a sweatshirt with the words “Fcuka rat” written above a picture of a mouse
caught inside a trap. In a comment accompanying the photo, JOHNSON wrote: “Free my round
coasta nostral!l Young gangsta ly champl!! #savage.”

120. On June 22, 2016, JOHNSON posted a comment on his Instagram account in
which he wrote, “We filled Tha house wit more pistols Tha more ,Tha better! l !”

121. On June 26, 2016, JOHNSON exchanged a series of Instagram messages with
another individual, in Which JOHNSON, using the screen name ‘“l feellyke john gotti! !l,” asked
the individual to provide him with .45 caliber ammunition

122. On June 27, 2016, JOI-lNSON posted a video on his Instagram account, in which
he sought to intimidate rivals by threatening them with gun violence and pledging to follow the
example of Howard Rice, an imprisoned former gang leader who was convicted of racketeering
and drug-related charges in 2006. During the video, JOHNSON stated: “you bitch-ass niggas?
yo, think throwing dirt on my name goin’ be cool, yo, that shit ain’t gonna get you out of a
situation, yo, cause l be in you niggas’ ass yo, like a wedgie, yo, stop fuckin’ playin’ me, yo, for
real, this shit can get ugly, yo, and l’m out here, yoJ thuggin’ yo, late night, yo, goons on the
steps, still gettin’ wet, cars double parked, sticks in there, don’t fuckin’ talk to us, for real, yo,
cause this situation, yo, that was cute, can get ugly, yo, for real, yo, I start Howard Rice-ing you
niggas, yo 22s and shit like that, silencers, shit ...” ln a comment accompanying the video,

JOHNSON wrote: “Fed up!! lma Howard rice [sic] lof u pussies! ll #legend.”

27

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 28 of 41

123. On June 30, 2016, in the 1800 block of Barclay Street, JOHNSON possessed
with intent to distribute cocaine At the time of his arrest, JOHNSON, a felon, also possessed

seven rounds of .45 caliber ammunition and 8500 in counterfeit currency.

124. On February 4, 2017, in the 400 block of E. North Avenue, MCCAN'I`S
attempted to murder Victim G.B., shooting him multiple times in the legs and back using a .40

caliber handgun

125. On February 5, 2017, inside a residence located at 5617 Pioneer Drive,
MCCANTS attempted to hide the .40 caliber handgun that he had used to shoot Victim G.B.

behind a wall underneath a bathroom sink.

126. Between February 5 and February 9, 2017, MCCANTS participated in recorded
jail calls with multiple individuals, in which he attempted to enlist those individuals’ assistance
in removing the .40 caliber handgun that he had used to shoot Victim G.B. and had hidden

behind a bathroom wall at 5617 Pioneer Drive.

rs U.s.r:_ §1962(d)

28

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 29 of 41

NOTICE OF SPECIAL SENTENCING FACTORS--»COUN'I` ONE
From at least in or about 2005 through the date of this Superseding lndictment, in the
District of Maryland and elsewhere, the defendants herein,

GERALD THOMAS JOHNSON,
a/k/a “Geezy,” a/k.)'a “Gzy Tha Prince,”
WESLEY JAMAL BROWN,
a/kfa “Shike White,” a/kfa “Wes,”
a/kfa “West C_oast,” a/k/a “Coasta”
DAVID ALBERT HUNTER,
a/k/a “Lil Dave,” afkfa “Dave,”
MONTEL HARVEY,

a/k/a “Telly,” a/k/a “Telephone,” a/k!a “Big Head,”
KENNETH JONES,

a/k/a “K-Slay,” afkfa “Slay,”
KENNETH LEE FAISON,

a/k/a “Roscoe,”

JOSEPH LAURENCE BONDS,
a/k/a “Joe,” afkfa “Yo Gotti,”
NORMAN TYRONE HANDY,
a/k/'a “Lil Norm,” a/k/a “Norm,” and
MARQUISE MCCANTS,

a/k/a “Digga,”

did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury to knowingly and intentionally distribute and
possess with intent to distribute 280 grams or more of a mixture or substance containing a
detectable amount of cocaine base, a Schedule ll controlled substance, in violation of Title 21,

United States Code, Sections 84l(a)(1), (b)(l)(A) and 846.

29

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 30 of 41

COUNT TWO
(Conspiracy to Distribute and Possess with lntent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland further charges that:

l. Paragraphs 1 through 12 and 15 through 101 of Count One of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein

2. From at least in or about 2005 through the date of this Superseding lndictment, in
the District of Maryland and elsewhere, the defendants herein:

GERALD THOMAS JOHNSON,
afkfa “Geezy,” a/k/a “Gzy Tha Prince,”
WESLEY JAMAL BROWN,
a/k/a “Shike White,” a/k/a “Wes,”
a/k/a “West Coast,” afkfa “Coasta”
DAVID ALBERT HUNTER,
a/k/a “Lil Dave,” a/k!a “Dave,”
MONTEL HARVEY,

a/k/a “Telly,” a/k/a “Telephone,” a/k/a “Big Head,”
KENNETH JONES,
afkfa “K-Slay,” a/k/a “Slay,”
KENNETH LEE FAISON, '

afkfa “Roscoe,”

JOSEPH LAURENCE BONDS,
a/k/a “Joe,” a/k/a “Yo Gotti,”
NORMAN TYRONE HANDY,
a/k/a “Lil Norm,” a/k/a “Norm,” and
MARQUISE MCCANTS,

a/k/a “Digga,”

did knowingly and intentionally combine, conspire, confederate, and agree with each other and
with others known and unknown to the Grand Jury to distribute and possess with intent to
distribute 100 grams or more of a mixture of substance containing a detectable amount of heroin,
a Schedule I controlled substance ; a quantity of a mixture or substance containing a detectable
amount of cocaine, a Schedule ll controlled substance; 280 grams or more of a mixture of
substance containing a detectable amount of cocaine base, a Schedule ll controlled substance; a

quantity of a mixture or substance containing a detectable amount of oxycodone, a Schedule ll

30

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 31 of 41

controlled substance; and a quantity of a mixture or substance containing a detectable amount of

marijuana, a Schedule l controlled substance, in violation of Title 21, United States Code,

S@CtiOHS 341(3)(1), (b)(l )(A), (b)(l)(B), (b)(l)(C)-

21 U.s.C. § 846

31

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 32 of 41

COUNT THREE
(Conspiracy to Commit Murder in Aid of Racketeering)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs l through 13 and 15 of Count One of this Superseding lndictment are
re-alleged and incorporated by reference as though fully set forth herein

2. The organization known today as the BGF Greenmount Regime, including its
leadership, membership, and associates, constituted an enterprise as defined in Title 18, United
States Code, Section 1959(b)(2), that is, a group of individuals associated in fact that engaged in,
and the activities of which affected, interstate and foreign commerce The enterprise constituted
an ongoing organization whose members functioned as a continuing unit for a common purpose
of achieving the objectives of the enterprise

3. The organization known today as the BGF Greenmount Regime, through its
members and associates, engaged in racketeering activity as defined in Title 18, United States
Code, Sections 1959(b)(1) and 1961(1), namely, acts involving murder, in violation of Maryland
Code, Criminal Law §§ 2-201, 2-204, 2-205, and 2-206, and the Common Law of Maryland
punishable pursuant to Maryland Code, Criminal Law §§ 1-201, 1-202, 2-201, 2»204, 2-205, and
2-206; acts involving robbery, in violation of Maryland Code, Criminal Law §§ 3-402 and 3-403,
and the Common Law of Maryland; and acts involving dealing in controlled substances in
violation of 21 U,S.C. § 841; (distribution and possession with intent to distribute a controlled
n substance); and 21 U.S.C. § 846 (conspiracy to distribute a controlled substance); and acts
indictable under 18 U.S.C. § 1512 (relating to tampering with a witness, victim, or an informant);
and 18 U.S.C. § 1513 (relating to retaliation against a witness, victim, or an infonnant).

4. Between in or about April 2013 and May 2, 2013, in the District of Maryland and

elsewhere, the defendants

32

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 33 of 41

GERALD THOMAS JOHNSON,
a/k/a, “Geezy”
a/k/a “Gzy Tha Prince,” and
WESLEY JAMAL BROWN,
a/k/a “Shike White,” afk/a “Wes,”
a/kfa “West Coast,” a/kfa “Coasta”
for the purpose of maintaining and increasing position in the organization known today as the BGF
` Greenmount Regime, an enterprise engaged in racketeering activity, did knowingly and willfully
combine, conspire, confederate, and agree with others known and unknown to the Grand Jury to
murder Victim M.M., in violation of Maryland Code, Criminal Law §§ 2-201 and 2-204, and
punishable pursuant to Maryland Code, Criminal Law §§ 2-201, 2~204, and 1~202, and the

Common Law of Maryland, all in violation of 18 U.S.C. § 1959(a)(5).

rs U.s.C. § 1959(3)(5)

33

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 34 of 41

COUNT FOUR
(Murder in Aid of Racketeering)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs l through 13 and 15 of Count One, and Paragraphs 2 through 4 of
Count Three of this Superseding lndictment are re-alleged and incorporated by reference as
though fully set forth herein
2. On or about May 2, 2013, in the District of Maryland, the defendants
WESLEY JAMAL BROWN,
a/k/a “Shike White,” a/k/a “Wes,”
afkfa “West Coast,” a/k/a “Coasta,” and
GERALD THOMAS JOHNSON,
a/k/a “Geezy,”
afkfa “Gzy Tha Prince,”
for the purpose of maintaining and increasing position in the organization known today as the BGF
Greenmount Regime, an enterprise engaged in racketeering activity, feloniously, willfully, and
with deliberate premeditated malice, murdered Victim M.M., by using a firearm to shoot Victim

M.M., which crime constituted murder under Maryland Code, Criminal Law §§ 2-201 and 2-204,

and the Common Law of Maryland, all in violation of 18 U.S.C. § l959(a)(1).

rs U.s.C. § 1959(a)(1)
rs U.s.c. § 2

34

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 35 of 41

COUNT FIVE
(Use, Carry, Brandish, and Discharge a Firearrn During and '
In Relation to a Crime of Violence)
1. The Grand Jury for the District of Maryland further charges that:
2. On or about May 2, 2013, in the District of Maryland, the defendant,
WESLEY JAMAL BROWN,
a/k/a “Shike White,” a/k/a “Wes,”
a/k/a “West Coast,” a/k/a “Coasta”
did knowingly, intentionally and unlawfully use, carry, brandish and discharge a firearm during
and in relation to a crime of violence for which he may be prosecuted in a court of the United
States_specifrcally, conspiracy to participate in a racketeering enterprise, conspiracy to commit
murder in aid of racketeering, and murder in aid of racketeering, in violation of Title 18, United

States Code, Sections 1962(d), 1959(a)(5), and 1959(a)(1)#as set forth in Counts One, Three, and

F our of this Superseding lndictment, which are incorporated herein

rs U.s.C. § 924(¢)(1)(A)
is U.s_c. § 2

35

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 36 of 41

_ wiser
(Possession with Intent to Distribute Cocaine Basc)

The Grand Jury for the District of Maryland further charges that:
On or about June 30, 2016, in the District of Maryland, the defendant,

GERALD THOMAS JOHNSON,
a/k/a “Gcezy,” a/k/a “Gzy Tha Prince,”

did knowingly and intentionally possess with intent to distribute a quantity of a mixture or

substance containing a detectable amount of cocaine base, a 'Schedule ll controlled substance

21 U.s.c. § 341(3)(1)
rs U.s.c. § 2

36

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 37 of 41

COUNT SEVEN
(Possession of Ammunition by a Felon)

The Grand Jury for the District of Maryland further charges that:
On or about June 30, 2016, in the District of Maryland, the defendant,

GERALD THOMAS JOHNSON,
a/k/a “Geezy,” a/k/a “Gzy Tha Prince,”

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess ammunition in and affecting interstate commerce specifically, seven rounds

l of Federal .45 caliber ammunition, in violation of Title 18, United States Code, Section 922(g)(1).

is U.s.c. § 922(g)(1)

37

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 38 of 41

coUNT inch
(Posscssion of a Firearm by a Felorr)

The Grand Jury for the District of Maryland further charges that:
On or about February 4 and February 5, 2017, in the District of Maryland, the defendant,

MARQUISE MCCANTS,
a/k/a “Digga,”

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess a firearm in and affecting interstate commerce specifically, one Ruger .40
caliber handgun, bearing serial number 34384459, in violation of Title 18, United States Code,

Section 922(g)(l).

rs use § 922(§)(1)

38

 

 

Case 1:16-cr-00363-.]KB _ Document 260 Filed 09/20/17 Page 39 of 41

FORFEITURE ALLEGATIONS
1. The United States hereby gives notice to the defendants that upon conviction of
the racketeering conspiracy set forth in Count One the government will seek forfeiture in
accordance with 18 U.S.C. § 1963, which requires any person convicted of an offense under 18
U.S.C. § 1962 to forfeit: (a) any interest the person acquired or maintained in violation of 18
U.S.C. § 1962; (b) any interest in, security of, claims against, or property or contractual right of
any kind affording a source of influence over any enterprise that the person has established,
operated, controlled, conducted, or participated in the conduct of, in violation of 18 U.S.C. §
1962; and (c) any property constituting, or derived from, any proceeds that the person obtained,
directly, or indirectly, from racketeering activity, in violation of 18 U.S.C. § 1962.
2. If any of the above-described forfeitable property, as a result of any act or
omission of the defendants;
a. cannot be located upon the exercise of due diligence
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value or
e. has been commingled with other property that cannot be divided without
difficulty
it is the intent of the United States, pursuant to 18 U.S.C. § 1963(m) to seek forfeiture of any
other property of the defendant up to the value of the forfeitable property described in this
forfeiture allegation
3. The United States further gives notice that upon conviction of one or more of the

offenses set forth in Counts Two and Six of this Superseding lndictment, the defendants, shall

39

 

 

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 40 of 41

forfeit to the United States pursuant to 21 U.S.C. § 853, upon the conviction of an offense in
violation of2l U.S.C. §§ 841 or 846:
a. any property constituting, or derived from, and any proceeds obtained, directly or
indirectly, as the result of the offense and
b. any property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such offense
4. The United States further gives notice that upon conviction of one or more of the
offenses set forth in Counts Five and Seven of this Superseding lndictment, the defendants, shall
forfeit to the United States pursuant to 18 U.S.C. § 924(d) any firearms or ammunition possessed
in violation of 18 U.S.C. § 922(g), as charged in this Superseding lndictment
5. Such property shall include but shall not be limited to, a sum of money equal to
the proceeds obtained, directly or indirectly, as the result of the violations of 21 U.S.C. § 846, as
charged in Count Two of this Superseding lndictment, and all interest and proceeds traceable
thereto, representing the amount of proceeds obtained as a result of the conspiracy to violate the
Controlled Substances Act, for which the defendants are jointly and severally liable
6. lf any of the property described above as a result of any act or omission of the
defendants:
c. cannot be located upon the exercise of due diligence
d. has been transferred or sold to, or deposited with, a third party;
e. has been placed beyond the jurisdiction of the court;
f. has been substantially diminished in value or
g. has been commingled with other property that cannot be divided without

difficulty',

40

Case 1:16-cr-00363-.]KB Document 260 Filed 09/20/17 Page 41 of 41

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.
§ 853(p), as incorporated by 28 U.S-.C. § 2461(¢).

18 use § 924(d)
18 U.s.c. § 981(3)(1)(€)
18 u.s.C. § 1963

21 u.s.c. § 853

23 U.s.c. § 2461(¢)

 

gwin ns - raw

sTEPH'EN M. scHEanNG
Acting United States Attomey

___.r)\'l"1i)111j.13111.1-2 .

§IGNATURE REDAGTED t

foreperson

Date: ;7/"20//-7

41

